Case 19-61608-grs          Doc 215       Filed 02/16/20 Entered 02/16/20 19:03:23                      Desc Main
                                         Document     Page 1 of 2


                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION

    IN RE

    AMERICORE HOLDINGS, LLC1                                                             CASE NO. 19-61608

    DEBTORS




                               NOTICE OF EVIDENTIARY HEARING
        There are multiple motions for appointment of a trustee or examiner, or to convert or

dismiss these bankruptcy cases, set for hearing on February 20, 2020. [ECF Nos. 166, 171, 191,

and 206.] The motions raise significant concerns regarding the viability of these cases under the

current management, including the lack of any filed schedules and related documents, the failure

to obtain authority to use cash collateral, the inability to obtain financing despite the Debtors’

own testimony that financing is required to operate, and the Debtors’ failure to attend an initial

meeting with the United States Trustee.

        Therefore, the Debtors are on notice that the Court will take evidence at the hearings

scheduled for February 20, 2020, to determine if immediate action is required. The Debtors may

decide how they will present evidence, but they should strongly consider the need to provide

testimony from the individual responsible for performing the duties of the Debtors pursuant to

Fed. R. Bankr. P. 4002 and 9001(5)(A), and Local Rule of the Eastern District of Kentucky



1
 The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises,
LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood
Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC
(3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital
Corporation #1 (2766).
      Case 19-61608-grs          Doc 215        Filed 02/16/20 Entered 02/16/20 19:03:23                       Desc Main
                                                Document     Page 2 of 2


                1002-2(b), to contradict the strong evidence in the record that the Debtors are unwilling or

                unable to perform their responsibilities as debtors-in-possession. [See ECF No. 92.]




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                  Signed By:
                                                                  Gregory R. Schaaf
                                                                  Bankruptcy Judge
                                                                  Dated: Sunday, February 16, 2020
                                                                  (grs)
